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EXHIBIT A

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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

IN RE PHARMACEUTICAL INDUSTRY MDL No. 1456
AVERAGE WHOLESALE PRICE

LITIGATION CIVIL ACTION: 01-CV-12257-PBS

Judge Patti B. Saris
THIS DOCUMENT RELATES TO ALL
CLASS ACTIONS

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PLAINTIFFS’ AND DEFENDANT BAXTER’S JOINT AGREED MOTION FOR
EXTENSION TO TRACK II DISCOVERY SCHEDULE WITH RESPECT TO BAXTER

Plaintiffs and Defendant Baxter jointly move this Court for an extension to the Track II
Discovery Schedule with respect to Baxter. In support thereof, Plaintiffs and Baxter state as

follows:

i. THE PARTIES REQUEST AN EXTENSION OF THE DEADLINE FOR TRACK
H DISCOVERY WITH RESPECT TO BAXTER TO SEPTEMBER 30, 2006,

Currently pending before this Court is Plaimtiffs’ Motion To Compel The Production Of
Documents From Baxter. The parties have conferred regarding the document production made
to date by Baxter, Baxter’s proposed rolling production of additional documents, and the
depositions that will likely arise as Baxter undertakes the production of its documents.

Based on those discussions, Plaintiffs have agreed to withdraw their Motion To Compel Baxter’s

documents without prejudice contemporaneously with this Motion, based on the parties’ joint

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request to this Court to modify the Track II Discovery Schedule with respect to Baxter as

follows:!

final date for production of documents: June 1, 2006,

final date for depositions of fact witnesses: September 30, 2006;

Plaintiffs to file their expert reports on liability: November 15, 2006;

Baxter to file its expert reports on liability: December 1, 2006;

* completion of expert depositions: December 30, 2006,
Baxter and Plaintiffs agree that this schedule provides sufficient time to conduct discovery given
the number of documents which Baxter believes it has to produce with respect to the drugs at
issue and given the breadth of discovery required by both parties to prepare the case for trial.

Ik. CONCLUSION

For all of the foregoing reasons, Plaintiffs and Defendant Baxter respectfully request that this
Court enter an order: a) granting the parties’ Joint Agreed Motion For Extension To Track II
Discovery Schedule With Respect To Baxter; and b) setting the discovery schedule with respect
to Baxter as follows: (i) final date for production of documents: June |, 2006, (ii) final date for
depositions of fact witnesses: September 30, 2006; (iii) Plaintiffs to file their expert reports on
liability: November 15, 2006; (iv) Baxter to file its expert reports on liability: December 1,
2006; (v) completion of expert depositions: December 30, 2006.

DATED: November 22, 2005

' Case Management Order (“CMO”) No. 14 sets forth the following deadlines associated with
discovery related to the Track Two Defendants:

December 3, 2005: Close of Fact Discovery.

January 15, 2006: Plaintiffs file their expert reports on liability.

January 30, 2006: Defendants file expert reports on liability.

March 15, 2006: Completion of expert depositions.

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On Behalf of Baxter On Behalf of Plaintiffs

By:__/s/ original signed By___/s/ Steve W. Berman

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CERTIFICATE OF SERVICE

I, hereby certify that I, Merle M. DeLancey, counsel to Baxter Healthcare
Corporation and Baxter International Inc., caused a true and correct copy of the
foregoing PLAINTIFFS’ AND DEFENDANT BAXTER’S JOINT AGREED MOTION
FOR EXTENSION TO TRACK II DISCOVERY SCHEDULE WITH RESPECT TO
BAXTER and [Proposed] ORDER to be served electronically on counsel of record
pursuant to Paragraph 11 of the Case Management Order No. 2, by sending a copy to
LexisNexis Pile and Service for posting and notification to all parties on November 22,

2005.

/s/ original signed.
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